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                  Exhibit 30
 2011 REMS for NDA 20-687 Mifeprex (mifepristone)
         Tablets, 200mg (June 8, 2011)
                              Please
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                               NDA 20-687 MIFEPREX (mifepristone) Tablets, 200 mg

                                              Danco Laboratories, LLC
                                                   PO Box 4816
                                               New York, NY 10185

                         RISK EVALUATION AND MITIGATION STRATEGY (REMS)

              I.    GOALS

                    A.   To provide information to patients about the benefits and risks of MIFEPREX
                         before they make a decision whether to take the drug.

                    B.   To minimize the risk of serious complications by requiring prescribers to
                         certify that they are qualified to prescribe MIFEPREX and are able to assure
                         patient access to appropriate medical facilities to manage any complications.

              II.   REMS ELEMENTS

                    A.   Medication Guide

                         1.   A Medication Guide will be dispensed with each MIFEPREX prescription
                              in accordance with 21 CFR 208.24.

                         2.   Please see the appended Medication Guide.

                    B.   Elements to Assure Safe Use

                         1.   Healthcare providers who prescribe MIFEPREX will be specially
                              certified.

                              Danco will ensure that healthcare providers who prescribe MIFEPREX are
                              specially certified.

                              a. To become specially certified, each prescriber must complete and fax
                                 to the MIFEPREX distributor the one-time Prescriber’s Agreement,
                                 agreeing that they meet the qualifications and will follow the
                                 guidelines outlined in the Prescriber’s Agreement.

                              b. The following materials are part of the REMS and are appended:

                                 i. Prescriber’s Agreement.

                                 ii. Patient Agreement.




                                                                                                  EX. 30 pg. 01
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                        2.   MIFEPREX will be dispensed only in certain health care settings,
                             specifically clinics, medical offices, and hospitals.

                             Danco will ensure that MIFEPREX will only be available to be dispensed
                             in a clinic, medical office, or hospital, by or under the supervision of a
                             specially certified prescriber. MIFEPREX will not be distributed to or
                             dispensed through retail pharmacies.

                        3.   MIFEPREX will only be dispensed to patients with documentation of safe
                             use conditions.

                             Danco will ensure that MIFEPREX will only be dispensed to patients with
                             documentation of the following safe use conditions:

                             a. The patient has completed and signed the Patient Agreement, and the
                                Patient Agreement has been placed in the patient’s medical record.

                             b. The patient has been provided copies of the signed Patient Agreement
                                and the Medication Guide.

                   C.   Implementation System

                        The Implementation System will include the following:

                        1.   Distributors who distribute MIFEPREX will be certified. To become
                             certified, distributors must agree to:

                             a. Ship drug only to site locations identified by specially certified
                                prescribers in signed Prescriber’s Agreements, and maintain secure
                                and confidential records of shipments.

                             b. Follow all distribution guidelines, including those for storage, tracking
                                package serial numbers, proof of delivery, and controlled returns.

                        2.   Danco will assess the performance of the certified distributors with regard
                             to the following:

                             a. Whether a secure, confidential and controlled distribution system is
                                being maintained with regard to storage, handling, shipping, and return
                                of MIFEPREX.

                             b. Whether MIFEPREX is being shipped only to site locations identified
                                by specially certified prescribers in the signed Prescriber’s Agreement
                                and only available to be dispensed to patients in a clinic, medical
                                office, or hospital by or under the supervision of a specially certified
                                prescriber.




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                        3.   If Danco determines the distributors are not complying with these
                             requirements, Danco will take steps to improve their compliance.

                   D.   Timetable for Submission of Assessments

                        Danco will submit REMS assessments to the FDA one year from the date of
                        the approval of the REMS and every three years thereafter. To facilitate
                        inclusion of as much information as possible while allowing reasonable time to
                        prepare the submission, the assessment reporting interval covered by each
                        assessment should conclude no earlier than 60 days before the submission date
                        for that assessment. Danco will submit each assessment so that it will be
                        received by the FDA on or before the due date.




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                                               MEDICATION GUIDE
                                               Mifeprex® (MIF-eh-prex)
                                                    (mifepristone)

          Read this information carefully before taking Mifeprex* and misoprostol. It will help you
          understand how the treatment works. This MEDICATION GUIDE does not take the place of
          talking with your health care provider (provider).

          What is Mifeprex?
          Mifeprex is used to end an early pregnancy. It blocks a hormone needed for your pregnancy
          to continue. It is not approved for ending later pregnancies. Early pregnancy means it is 49
          days (7 weeks) or less since your last menstrual period began. When you use Mifeprex (Day
          1), you also need to take another medicine misoprostol, 2 days after you take Mifeprex (Day 3),
          to end your pregnancy. But, about 5-8 out of 100 women taking Mifeprex will need a surgical
          procedure to end the pregnancy or to stop too much bleeding.

          What is the most important information I should know about
          Mifeprex?
          What symptoms should I be concerned with? Although cramping and bleeding are an
          expected part of ending a pregnancy, rarely, serious and potentially life-threatening bleeding,
          infections, or other problems can occur following a miscarriage, surgical abortion, medical
          abortion, or childbirth. Prompt medical attention is needed in these circumstances. Serious
          infection has resulted in death in a very small number of cases; in most of these cases
          misoprostol was used in the vagina. There is no information that use of Mifeprex and
          misoprostol caused these deaths. If you have any questions, concerns, or problems, or if you
          are worried about any side effects or symptoms, you should contact your provider. Your
          provider’s telephone number is ________________________.

          Be sure to contact your provider promptly if you have any of the following:

                  Heavy Bleeding. Contact your provider right away if you bleed enough to soak through
                  two thick full-size sanitary pads per hour for two consecutive hours or if you are
                  concerned about heavy bleeding. In about 1 out of 100 women, bleeding can be so
                  heavy that it requires a surgical procedure (surgical abortion/D&C) to stop it.

                  Abdominal Pain or “Feeling Sick”. If you have abdominal pain or discomfort, or you
                  are “feeling sick”, including weakness, nausea, vomiting or diarrhea, with or without
                  fever, more than 24 hours after taking misoprostol, you should contact your provider
                  without delay. These symptoms may be a sign of a serious infection or another problem
                  (including an ectopic pregnancy, a pregnancy outside the womb).

                  Fever. In the days after treatment, if you have a fever of 100.4°F or higher that lasts for
                  more than 4 hours, you should contact your provider right away. Fever may be a
                  symptom of a serious infection or another problem (including an ectopic pregnancy).

          Take this MEDICATION GUIDE with you. When you visit an emergency room or a provider
          who did not give you your Mifeprex, you should give them your MEDICATION GUIDE so that



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          they understand that you are having a medical abortion with Mifeprex.

          What to do if you are still pregnant after Mifeprex with misoprostol treatment. If you are
          still pregnant, your provider will talk with you about the other choices you have, including a
          surgical procedure to end your pregnancy. There is a chance that there may be birth defects if
          the pregnancy is not ended.

          Talk with your provider. Before you take Mifeprex, you should read this MEDICATION GUIDE
          and sign a statement (PATIENT AGREEMENT). You and your provider should discuss the
          benefits and risks of your using Mifeprex.



          Who should not take Mifeprex?
          Some women should not take Mifeprex. Do not take it if:
          • It has been more than 49 days (7 weeks) since your last menstrual period began.
          • You have an IUD. It must be taken out before you take Mifeprex.
          • Your provider has told you that you have a pregnancy outside the uterus (ectopic
            pregnancy).
          • You have problems with your adrenal glands (chronic adrenal failure).
          • You take a medicine to thin your blood.
          • You have a bleeding problem.
          • You take certain steroid medicines.
          • You cannot return for the next 2 visits.
          • You cannot easily get emergency medical help in the 2 weeks after you take Mifeprex.
          • You are allergic to mifepristone, misoprostol, or medicines that contain misoprostol, such as
            Cytotec or Arthrotec.

          Tell your provider about all your medical conditions to find out if you can take Mifeprex. Also,
          tell your provider if you smoke at least 10 cigarettes a day.

          How should I take Mifeprex?
          •    Day 1 at your provider’s office:
               - Read this MEDICATION GUIDE.
               - Discuss the benefits and risks of using Mifeprex to end your pregnancy.
               - If you decide Mifeprex is right for you, sign the PATIENT AGREEMENT.
               - After getting a physical exam, swallow 3 tablets of Mifeprex.
          •    Day 3 at your provider’s office:
               - If you are still pregnant, take 2 misoprostol tablets.
               - Misoprostol may cause cramps, nausea, diarrhea, and other symptoms. Your provider
                 may send you home with medicines for these symptoms.
          •    About Day 14 at your provider’s office:
               - This follow-up visit is very important. You must return to the provider about 14 days after
                  you have taken Mifeprex to be sure you are well and that you are not pregnant.
               - Your provider will check whether your pregnancy has completely ended. If it has not
                  ended, there is a chance that there may be birth defects. If you are still pregnant, your
                  provider will talk with you about the other choices you have, including a surgical
                  procedure to end your pregnancy.




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          What should I avoid while taking Mifeprex and misoprostol?
          Do not take any other prescription or non-prescription medicines (including herbal medicines or
          supplements) at any time during the treatment period without first asking your provider about
          them because they may interfere with the treatment. Ask your provider about what medicines
          you can take for pain.

          If you are breastfeeding at the time you take Mifeprex and misoprostol, discuss with your
          provider if you should stop breastfeeding for a few days.

          What are the possible and reasonably likely side effects of Mifeprex?

          Cramping and bleeding are expected with this treatment. Usually, these symptoms mean that
          the treatment is working. But sometimes you can get cramping and bleeding and still be
          pregnant. This is why you must return to your provider on Day 3 and about Day 14. See “How
          should I take Mifeprex?” for more information on when to return to your provider. If you are not
          already bleeding after taking Mifeprex, you probably will begin to bleed once you take
          misoprostol, the medicine you take on Day 3. Bleeding or spotting can be expected for an
          average of 9–16 days and may last for up to 30 days. Your bleeding may be similar to, or
          greater than, a normal heavy period. You may see blood clots and tissue. This is an expected
          part of ending the pregnancy.

          Other common symptoms of treatment include diarrhea, nausea, vomiting, headache, dizziness,
          back pain, and tiredness. These side effects lessen after Day 3 and are usually gone by Day
          14. Your provider will tell you how to manage any pain or other side effects.

          Call your doctor for medical advice about side effects. You may report side effects to FDA at 1­
          800-FDA-1088.

          When should I begin birth control?
          You can become pregnant again right after your pregnancy ends. If you do not want to become
          pregnant again, start using birth control as soon as your pregnancy ends or before you start
          having sexual intercourse again.



                                                      *   *   *


          Medicines are sometimes prescribed for purposes other than those listed in a MEDICATION
          GUIDE. For more information, ask your provider for the information about Mifeprex that is
          written for health care professionals. Ask your provider if you have any questions.

          This MEDICATION GUIDE has been approved by the U.S. Food and Drug Administration.

          Rev 3: 4/22/09
          *Mifeprex is a registered trademark of Danco Laboratories, LLC.




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                                                                      M I F E P R E X®
                                                               (Mifepristone) Tablets, 200 mg

                                                              PRESCRIBER’S AGREEMENT

      We are pleased that you wish to become a provider of Mifeprex* (Mifepristone) Tablets, 200 mg, which is
      indicated for the medical termination of intrauterine pregnancy through 49 days from the first day of the patient’s
      last menstrual period (see full prescribing information). Prescribing Information, Mifeprex Medication Guides and
      PATIENT AGREEMENT forms will be provided together with your order of Mifeprex.

      Prior to establishing your account and receiving your first order, you must sign and return this letter to the
      distributor, indicating that you have met the qualifications outlined below and will observe the guidelines outlined
      below. If you oversee more than one office facility, you will need to list each facility on your order form prior to
      shipping the first order.

      By signing the reverse side, you acknowledge receipt of the PRESCRIBER’S AGREEMENT and agree that you
      meet these qualifications and that you will follow these guidelines for use. You also understand that if you do not
      follow these guidelines, the distributor may discontinue distribution of the drug to you.

      Under Federal law, Mifeprex must be provided by or under the supervision of a physician who meets the
      following qualifications:

                  • Ability to assess the duration of pregnancy accurately.

                  • Ability to diagnose ectopic pregnancies.

                  • Ability to provide surgical intervention in cases of incomplete abortion or severe bleeding, or have
                  made plans to provide such care through others, and are able to assure patient access to medical
                  facilities equipped to provide blood transfusions and resuscitation, if necessary.

                  • Has read and understood the prescribing information of Mifeprex. The prescribing information is
                  attached to this letter, and is also available by calling our toll free number, 1-877-4 Early Option (1-877­
                  432-7596), or logging on to our website, www.earlyoptionpill.com.

      In addition to these qualifications, you must provide Mifeprex in a manner consistent with the following guidelines.

                  • Under Federal law, each patient must be provided with a Medication Guide. You must fully explain the
                  procedure to each patient, provide her with a copy of the Medication Guide and PATIENT
                  AGREEMENT, give her an opportunity to read and discuss them, obtain her signature on the PATIENT
                  AGREEMENT, and sign it yourself.

                  • The patient’s follow-up visit at approximately 14 days is very important to confirm that a complete
                  termination of pregnancy has occurred and that there have been no complications. You must notify
                  Danco Laboratories in writing as discussed in the Package Insert under the heading DOSAGE AND
                  ADMINISTRATION in the event of an on-going pregnancy which is not terminated subsequent to the
                  conclusion of the treatment procedure.

                  • While serious adverse events associated with the use of Mifeprex are rare, you must report any
                  hospitalization, transfusion or other serious event to Danco Laboratories, identifying the patient solely by
                  package serial number to ensure patient confidentiality.

                  • Each package of Mifeprex has a serial number. As part of maintaining complete records for each
                  patient, you must record this identification number in each patient’s record.


      Danco Laboratories, LLC
      P.O. Box 4816
      New York, NY 10185
      1-877-4 Early Option (1-877-432-7596)
      www.earlyoptionpill.com
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                                         ACCOUNT SETUP FORM
                                         MIFEPREX (Mifepristone) Tablets, 200 mg; NDC 64875-001-03
                                                         TM




                                         Billing information

       To set up your                    Bill to Name ________________________________________________________________

          account:                       Address ____________________________________________________________________
                                         City ________________________________                          State ________ ZIP ___________________
                                         Phone ______________________________                           Fax ________________________________
                  1
                                         Attention ___________________________
Read the Prescriber’s Agreement on
the back of this Account Setup Form.     Shipping information (❑ Check if same as above)
                                         Ship to Name _______________________________________________________________
                  2                      Address ____________________________________________________________________

   Complete and sign this form.          City ________________________________                          State ________ ZIP ___________________
                                         Phone ______________________________                           Fax ________________________________
                                         Attention ___________________________
                  3
 Fax the completed Account Setup         Additional site locations
  Form to the Danco distributor at       I will also be prescribing Mifeprex* at these additional locations:
  1-866-227-3343. Your account
                                          Name _________________________________                         Address __________________________________
  information will be kept strictly
            confidential.                 City __________________________________                        State ________ ZIP _________________________
                                          Phone ________________________________                         Fax ______________________________________

                  4
                                          Name _________________________________                         Address __________________________________
 The distributor will call to finalize
                                          City __________________________________                        State ________ ZIP _________________________
 your account setup and take your
            initial order.                Phone ________________________________                         Fax ______________________________________
                                         (Any additional sites may be listed on an attached sheet of paper.)


                  5                      Request additional materials
 Subsequent orders may be phoned         ❑ Medication Guides                                    ❑ Patient Agreements
 in and are usually shipped within       ❑ State Abortion Guidelines                            ❑ Patient Brochures
              24 hours.
                                         Establishing your account (required only with first order)
                                         Each facility purchasing Mifeprex must be included on this form (see additional site locations box above) before the
                  6                      distributor can ship the product. Please read the Prescriber’s Agreement on the reverse of this form and sign below.
Unopened, unused product may be
                                         By signing below, you acknowledge receipt of the Prescriber’s Agreement and agree that
returned for a refund or exchange up
                                         you meet these qualifications and that you will follow these guidelines for use.
 to a year after the expiration date.
                                         Print Name _________________________________                         Signature _________________________________
                                         Medical License # ___________________________                        Date ______________________________________

                                         Fax this completed Account Setup Form to the authorized distributor. Fax: 1-866-227-3343
                                         Please fax any questions to the above number or call 1-800-848-6142.
                                         *Mifeprex is a trademark of Danco Laboratories, LLC.




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          Mifeprex® (Mifepristone) Tablets, 200 mg

          PATIENT AGREEMENT
          Mifeprex* (mifepristone) Tablets

          1. I have read the attached MEDICATION GUIDE for using Mifeprex and misoprostol to end my pregnancy.
          2. I discussed the information with my health care provider (provider).
          3. My provider answered all my questions and told me about the risks and benefits of using Mifeprex and
          misoprostol to end my pregnancy.
          4. I believe I am no more than 49 days (7 weeks) pregnant.
          5. I understand that I will take Mifeprex in my provider’s office (Day 1).
          6. I understand that I will take misoprostol in my provider’s office two days after I take Mifeprex (Day 3).
          7. My provider gave me advice on what to do if I develop heavy bleeding or need emergency care due to the
          treatment.
          8. Bleeding and cramping do not mean that my pregnancy has ended. Therefore, I must return to my
          provider’s office in about 2 weeks (about Day 14) after I take Mifeprex to be sure that my pregnancy has
          ended and that I am well.
          9. I know that, in some cases, the treatment will not work. This happens in about 5 to 8 women out of 100
          who use this treatment.
          10. I understand that if my pregnancy continues after any part of the treatment, there is a chance that there
          may be birth defects. If my pregnancy continues after treatment with Mifeprex and misoprostol, I will talk with
          my provider about my choices, which may include a surgical procedure to end my pregnancy.
          11. I understand that if the medicines I take do not end my pregnancy and I decide to have a surgical
          procedure to end my pregnancy, or if I need a surgical procedure to stop bleeding, my provider will do the
          procedure or refer me to another provider who will. I have that provider’s name, address and phone number.
          12. I have my provider's name, address and phone number and know that I can call if I have any questions or
          concerns.
          13. I have decided to take Mifeprex and misoprostol to end my pregnancy and will follow my provider’s advice
          about when to take each drug and what to do in an emergency.
          14. I will do the following:
               - contact my provider right away if in the days after treatment I have a fever of 100.4°F or higher that
                   lasts for more than 4 hours or severe abdominal pain.
               - contact my provider right away if I have heavy bleeding (soaking through two thick full-size sanitary
                   pads per hour for two consecutive hours).
               - contact my provider right away if I have abdominal pain or discomfort, or I am “feeling sick”, including
                   weakness, nausea, vomiting or diarrhea, more than 24 hours after taking misoprostol.
               - take the MEDICATION GUIDE with me when I visit an emergency room or a provider who did not give
                   me Mifeprex, so that they will understand that I am having a medical abortion with Mifeprex.
               - return to my provider’s office in 2 days (Day 3) to check if my pregnancy has ended. My provider will
                    give me misoprostol if I am still pregnant.
               - return to my provider’s office about 14 days after beginning treatment to be sure that my pregnancy
                    has ended and that I am well.


          Patient Signature: ___________________________________________

          Patient Name (print): ________________________________________

          Date: _____________________________________________________

          The patient signed the PATIENT AGREEMENT in my presence after I counseled her and answered all her
          questions. I have given her the MEDICATION GUIDE for mifepristone.

          Provider’s Signature: ________________________________________

          Name of Provider (print): ______________________________________




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          Date: _____________________________________________________

          After the patient and the provider sign this PATIENT AGREEMENT, give 1 copy to the patient before she
          leaves the office and put 1 copy in her medical record. Give a copy of the MEDICATION GUIDE to the
          patient.



          Rev 2: 7/19/05
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     This is a representation of an electronic record that was signed
     electronically and this page is the manifestation of the electronic
     signature.
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     /s/
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     06/08/2011




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